21-11298-lgb         Doc 42      Filed 09/03/21 Entered 09/03/21 20:47:51       Main Document
                                              Pg 1 of 2



ROBINSON BROG LEINWAND GREENE                                 Hearing Date and Time:
GENOVESE & GLUCK P.C.                                         September 9, 2021 at 10:00 a.m.
875 Third Avenue
New York, New York 10022
Fred B. Ringel
Clement Yee
Attorneys for the Debtor and Debtor in
Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X

In re:                                                        Chapter 11

286 RIDER AVE ACQUISITION LLC,                                Case No: 21-11298-lgb

                                           Debtor.
----------------------------------------------------------X

                              NOTICE OF STATUS CONFERENCE

         PLEASE TAKE NOTICE, that a status conference in the above-captioned

case will be held on September 9, 2021 at 10:00 a.m.

         PLEASE TAKE FURTHER NOTICE, that the hearing will take place

telephonically. Parties wishing to participate at the hearing must make

arrangements through CourtSolutions at www.court-solutions.com. CourtSolutions

telephonic appearance instructions can also be found in General Order M-543 at

www.nysb.uscourts.gov/sites/default/files/m543.pdf.




{01116639.DOCX;1 }
21-11298-lgb   Doc 42   Filed 09/03/21 Entered 09/03/21 20:47:51   Main Document
                                     Pg 2 of 2



DATED:     New York, New York
           September 3, 2021
                                      ROBINSON BROG LEINWAND GREENE
                                      GENOVESE & GLUCK P.C.
                                      Attorneys for the Debtor
                                      875 Third Avenue
                                      New York, New York 10022
                                      (212) 603-6300

                                      By: /s/ Fred B. Ringel
                                             Fred B. Ringel




                                 {01116639.DOCX;1 }2
